                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 4:11-cr-11
 vs.                                                   )
                                                       )
 BARNEY DAVIS                                          )       MATTICE/CARTER

                                 MEMORANDUM AND ORDER

         The defendant appeared for a hearing before the undersigned on July 28, 2011, in accordance
 with Rule 46(c) of the Federal Rules of Criminal Procedure and 18 U.S.C. §§ 3143 and 3148 on the
 Petition for Action on Conditions of Pretrial Release. Those present for the hearing included:

                (1) AUSAs Chris Poole and Kent Anderson for the USA.
                (2) The defendant, Barney Davis.
                (3) Attorney John Norton for defendant.
                (4) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

        AUSA Poole asked for the defendant’s detention based on the Petition for Action on
 Conditions of Pretrial Release. The defendant and his counsel reviewed the Petition in open court.
 The defendant voluntarily surrendered his bond until a further hearing in this case set for Thursday,
 August 11, 2011, at 2:00 pm. Defendant shall be detained until further order of the Court.

        SO ORDERED.

        ENTER.

                                               s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




Case 4:11-cr-00011-HSM-WBC             Document 52         Filed 07/28/11     Page 1 of 1      PageID
                                            #: 126
